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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


In re:                                                  Chapter 11

BOY SCOUTS OF AMERICA AND                               Case No. 20-10343 (LSS)
DELAWARE BSA, LLC
                                                        (Jointly Administered)
                          Debtors

         NOTICE OF SERVICE OF CENTURY’S REQUESTS FOR PRODUCTION OF
                      DOCUMENTS DIRECTED TO DEBTORS

          I hereby certify that on February 1, 2021, a true and accurate copy of (1) Century’s First

Set of Interrogatories to the Ava Law Group, Kosnoff Law and Eisenberg, Rothweiler, Winkler,

Eisenberg & Jeck, P.C. Individually and as doing Business as Abused in Scouting, (2) Century’s

First Set of Requests for Admission to the Ava Law Group, Kosnoff Law and Eisenberg,

Rothweiler, Winkler, Eisenberg & Jeck, P.C. Individually and as doing Business as Abused in

Scouting, and (3) Century’s First Request for Production of Documents to the Ava Law Group,

Kosnoff Law and Eisenberg, Rothweiler, Winkler, Eisenberg & Jeck, P.C. Individually and as

doing Business as Abused in Scouting were served in the manner indicated on the parties

identified below.

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Dated: February 1, 2021                  Respectfully Submitted,


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